                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


AARON KEITH BLACKNELL,              )
                                    )
            Petitioner,             )
                                    )                1:05cv00688
      v.                            )                1:00cr250-1
                                    )                1:00cr251-2
UNITED STATES OF AMERICA            )                1:00cr312-1
                                    )
            Respondent.             )
____________________________________)


          ORDER ADOPTING MAGISTRATE JUDGE'S RECOMMENDATION

      On February 1, 2006, Magistrate Judge Wallace W. Dixon filed his

Recommendation [Doc. # 6]1 that Respondent’s Motion to Dismiss [Doc. # 3] be

granted, Petitioner’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside or

Correct Sentence [Doc. # 1] be denied, and Judgment be entered dismissing this

action. Also on February 1, 2006, the parties were mailed notification of the

Recommendation filing. Petitioner Aaron Keith Blacknell, timely filed an Objection

to the Recommendation on February 15, 2006 [Doc. # 8]. Respondent the United

States of America did not file a response.

      The Court has reviewed de novo the Recommendation of the Magistrate

Judge and adopts that Recommendation. Thus, for the reasons set out in the




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      This and all further citations to the record are to the civil case,
1:05cv00688.




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Recommendation, the Respondent’s Motion to Dismiss [Doc. # 3] is GRANTED and

Petitioner’s Motion to Vacate, Set Aside or Correct Sentence [Doc. # 1] is DENIED.

      This the 25th day of October, 2007.


                                              /s/ N. Carlton Tilley, Jr.
                                            United States District Judge




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